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   Case Name _____________________ v. ______________________                       Case Number: _____________________


                            Information Sheet for Registering a Protection Order
     Complete this form and attach it to the Verified Complaint for Protection Order Form JDF 402.
       Complete and accurate information is critical for the enforcement of a Protection Order.

         If this form is incomplete, information may not be posted at Colorado Bureau of Investigation (CBI) for Law
                    Enforcement officials to access and your protection order may not be properly enforced.


                                  Information about You (The Protected Party)

   Full Name: ___________James Corey Goode________________ Date of Birth: ____2-22-70___

   Physical description:     Gender: XMale        qFemale        Race: ____White___________

   Height: ____6’0”______Weight: ___185_______Hair Color: __Brown ________ Eye Color: __Brown_____

   Complete Home Address:




   Identify relationship between you and the Restrained Party:
   qSpouse                          qFormer Spouse                        qBoth parties are parents of the child(ren).
   qCurrent co-habitants            qFormer co-habitants                  qRestrained Party is a parent of the child(ren).
   qPartner in a Civil Union        qFormer Partner in a Civil Union
   qParties have been or are involved in an intimate relationship for __________ months.
   Other persons to be protected: (i.e. children)
     Full Name of Protected Party                                            Sex     Race         Date of Birth




                                    Information about Party to be Restrained
   Full Name: _____Alyssa Chrystie Montalbano_____________ Date of Birth: ____unknown____________

   If you do not know the date of birth, enter approximate age: __40___

   Physical description:     Gender: qMale       xFemale                  Race: _____White__________

   Height: __5’5____ Weight: ___140______ Hair Color: ___Brown_______ Eye Color: ___Brown_____

   Complete Home Address: _____2222 Da Vinci Place____ Apt. #: ___suite 400-117______

   City: ______ Grand Junction ______ State: _____ CO __________ Zip Code: ___81507_____

   Telephone #’s: Home: ____________________ Work: ____________________ Cell: __970 250 8365________

   xCheck only if applicable. The restrained party goes by another name, please list all aliases below.
   Name: ___Ari Stone_________________         Name: ______Alyssa-Chrystie Montalbano___________________
   Date: ______March 6, 2020______             Signature: _______/s James Corey Goode/_________________
   JDF 442             INFORMATION SHEET FOR REGISTERING A PROTECTION ORDER
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        qMunicipal Court XCounty Court qDistrict Court qDenver Juvenile qDenver
        Probate ________Broomfield__________________ County, Colorado

        Court Address:
        17 Descombes Dr, Broomfield, CO 80020
        Petitioner: _James Corey Goode_
        1140 US HW 287 Ste 400-266 Broomfield, CO 80020
        v.
                                                                                                   COURT USE ONLY
        Respondent: ____Alyssa Chrystie Montalbano
        2222 Da Vinci Pl, Grand Junction, CO 81507

        Attorney for James Corey Goode                                                 Case Number:
        Forthcoming application for pro hac vice: Valerie Ann Yanaros, Esq.
        5057 Keller Springs, Suite 300, Addison TX 75001

        Phone Number: (512) 826-7553   E-mail: valerie@yanaroslaw.com                  Division          Courtroom
        FAX Number: (469) 718-5600 Atty. Reg. #: TX 24075628

                              VERIFIED MOTION FOR CIVIL PROTECTION ORDER

   I ______James Corey Goode____________ (name of party) submit the following information to the Court:

   1.    xI request that I be permitted to omit the children’s address from this Affidavit because I fear that including
         the address will endanger the minor children.

   2.    The minor children are (list full name and date of birth): (Do not include address if number 1 above is checked.)

                     Full Name of Child              Date of Birth                     Current Address




         A legal action for Dissolution of Marriage or Civil Union, Legal Separation, Paternity, or Allocation of Parental
         Responsibilities (Decision-Making and Parenting Time) with the above-named children identified in the action
         qhas xhas not been filed. If such an action has been filed, complete the information below:
             County Where Case Has Been Filed        State           Case Number      Nature of Proceeding




   JDF 404 R2-18      AFFIDAVIT REGARDING CHILDREN PURSUANT TO §14-13-209, C.R.S.
                                            Page 1 of 2
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  5. I qhave xhave not participated as a party or witness or in any other capacity in any other court proceeding
     concerning custody of, or visitation, or parenting time with the above-named children in this or any other state.
     If so, please provide the following information.
         County Where Case Has Been Filed           State         Case Number          Date of Hearing




  6. I xdo qdo not know of any court proceedings that could affect this proceeding, including proceedings
     concerning enforcement of prior orders, domestic violence/abuse, protective/restraining orders, termination of
     parental rights, or adoption. If so, please provide the following information.

          County Where Case Has Been Filed        State        Case Number         Nature of Proceeding
          Mesa                                    CO           18-cv-50            Theft of dream visions




  7. I qdo xdo not know of any person not a party to the proceeding who has physical custody or claims rights
     of parental responsibilities, legal custody, physical custody, visitation or parenting time with the above-named
     children. If yes, please provide the following information.

          Name of Person                              Address (Street, City, State, Zip Code)




  8. I xdo qdo not understand that I have a continuing duty to inform the Court of any custody proceedings
     concerning the children in this or any other state when I obtain such information during this proceeding.


  9. I qam xam not a Native American Indian and these children qare xare not subject to the provisions of
     the Indian Child Welfare Act.

  x By checking this box, I am acknowledging I am filling in the blanks and not changing anything else on the
  form.

  q By checking this box, I am acknowledging that I have made a change to the original content of this form.

                                                  VERIFICATION
  I declare under penalty of perjury under the law of Colorado that the foregoing is true and correct.

  Executed on the _6_ day of ___March_____, __2020__, at __Burbank, California, United States________
                  (date)        (month)           (year)      (city or other location, and state OR country

  _____James Corey Goode___________                              ___/s James Corey Goode/________
   (printed name of xPetitioner qRespondent)                        Signature of xPetitioner q Respondent




  JDF 404 R2-18    AFFIDAVIT REGARDING CHILDREN PURSUANT TO §14-13-209, C.R.S.
                                         Page 2 of 2
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      qMunicipal Court XCounty Court qDistrict Court qDenver Juvenile qDenver
      Probate ________Broomfield__________________ County, Colorado

      Court Address:
      17 Descombes Dr, Broomfield, CO 80020
      Petitioner: _James Corey Goode_
      1140 US HW 287 Ste 400-266 Broomfield, CO 80020
      v.
                                                                                                COURT USE ONLY
      Respondent: ____Alyssa Chrystie Montalbano
      2222 Da Vinci Pl, Grand Junction, CO 81507

      Attorney for James Corey Goode                                                 Case Number:
      Forthcoming application for pro hac vice: Valerie Ann Yanaros, Esq.
      5057 Keller Springs, Suite 300, Addison TX 75001

      Phone Number: (512) 826-7553   E-mail: valerie@yanaroslaw.com                  Division          Courtroom
      FAX Number: (469) 718-5600 Atty. Reg. #: TX 24075628


                                   VERIFIED MOTION FOR CIVIL PROTECTION ORDER


  I, _____James Corey Goode____________ (name of person) request this Court to issue a Civil Protection Order,
  and in support of this request state the following:


  1. I am seeking this Civil Protection Order as a victim of the following: (Mark the applicable circumstances.)
     qDomestic Abuse (§13-14-101(2), C.R.S.)
       xStalking (§18-3-602, C.R.S.)
       qSexual Assault (§18-3-402(1), C.R.S.)
       qUnlawful Sexual Contact (§18-3-404, C.R.S.)
       qAbuse of the Elderly or an At-Risk Adult (§26-3.1-101(1) and (7), C.R.S.)
       qPhysical Assault, Threat or other situation.

 2.    I reside or am employed in the County of _Broomfield, State of Colorado, and Alyssa Chrystie Montalbano
       resides in the County of Mesa, State of Colorado. I know of Alyssa Chrystie Montalbano because she is a fan
       of the shows, conferences and various media that I appear in that comprise my day-to-day work. She first
       began attempting to contact me, repeatedly, after seeing the show I appear in on Gaia TV, “Cosmic
       Disclosure” in 2017. After I filed and received a preliminary stalking order in Broomfield in June and July
       (respectively) of 2018, harassment from her escalated quickly. In retaliation she filed suit against me in Mesa
       County for something she called “Theft of Dream Visions”. After that suit went through state and federal
       courts, Judge Flynn in Mesa County granted my Motion to Dismiss on January 29, 2020. All throughout that
       time she continued to harass and barrage me with highly-voluminous filings (in paper and electronic form, to
       the tune of hundreds of pages each), defame my name, create and post YouTube videos and other social
       media postings to harass, defame, embarrass and terrorize myself, my family, my fans, my colleagues and
       even my counsel. She has somehow obtained my personal and confidential employment documents and
       other personal and private information (some current and others from years ago) and published it across the
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      internet on various social media sites, blogs and message boards. [As further outlined in attached Brief in
      Support]


  3. The other Protected Persons are (list full name, date of birth, sex, and race):

       Full Name of Protected        Date of    Sex    Race       Full Name of Protected         Date of    Sex     Race
              Person                  Birth                              Person                   Birth
     Marissa Ariel Goode             7-25-03    F      W
     William Connor Goode            3-29-11    M      W



  xI have completed and attached the form titled “Affidavit Regarding Children” JDF 404 as children are
  identified as Protected Persons above.

  4. a) The most recent incident that causes me to ask for a Civil Protection Order occurred on or about
     _____February 24, 2020______ (date), at about __9:00 am__ (time), in ___Mesa______ (County), when
     _____Alyssa Chrystie Montalbano_________ (name of person) did the following to me and/or the above named
     Protected Persons: Be specific: What was the threat or acts of violence? Where did this occur? Were
     the minor children or other Protected Persons present? Was a weapon involved?
          I received additional voluminous filings filed in the Mesa County action—post-dismissal—from Alyssa
      Montalbano sent to my P.O. Box. These filings accuse myself, my counsel and Judge Flynn—the judge in the
      Mesa action—of conspiring against her. She has created a YouTube account called “The Deprogrammer” for
      the sole purpose of threatening, harassing and defaming myself. On it, she has recorded herself reading her
      court filings that are replete with falsehoods and inappropriate stories and accusations in a video (from the
      aforementioned date) titled “The Video Corey Goode, David Wilcock, AND the CIA - Don't Want you to See -
      5TH INFO FOR THE COURT”. [See attached documentation].

      b) The most serious incident that causes me to ask for a Civil Protection Order occurred on or about __June
      25, 2018_____(date), at about __10:00 a.m. (estimate)____(time), in ___Mesa_______ (County), when
      ______Alyssa Christie Montalbano_____________ (name of person) did the following to me and/or the above
      named Protected Persons: Be specific: What was the threat or acts of violence? Where did this occur?
      Were the minor children or other Protected Persons present? Was a weapon involved?
          Filed a lawsuit for “Theft of Dream Visions” that accused Mr. Goode of, inter alia, using “mind control
      tactics” and “military-grade” and “guerrilla warfare tactics” to steal Montalbano’s “dream visions”. Her filing
      included hundreds of pages of false accusations of heinous crimes. She broadcast a multitude of Mr. Goode’s
      personal information out through social media and in her court filings in the years that followed. She
      incessantly and repeatedly attempted to call, email and snail mail Mr. Goode to get his attention and the
      attention of his colleagues and former colleagues. She even sent correspondence regarding her false claims
      and accusations to Mr. Goode’s place of business..

      c) Any other past incidents of violence or threats? Be specific: What was the threat or acts of violence?
      Where did this occur? Were the minor children or other Protected Persons present? Was a weapon
      involved?
          She has been making and continues to make threats of harm, defamation or lawsuits. My wife and
      children have been subjected to the public social media posts threatening such actions and have been
      caused to undertake counseling as treatment. [As further outlined in attached Brief in Support].
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      d) Are you aware of any other Protection Orders currently in effect against you or the other person?
      qYes x No If Yes, list any relevant information, such as the issuing Court, State, and date of the order:


  5. I believe that I and/or the other Protected Persons named in this action are in imminent danger from
     _____Alyssa Chrystie Montalbano_______________ (name of person):

      xHarm to my/our life or health if he/she is not restrained as requested.
      xPhysical or emotional harm to my/our emotional health or welfare if he/she is not excluded from the family
     home or the home of another.
  6. xI request that I be permitted to omit my address from this Verified Complaint/Motion for Civil Protection
     Order, because I fear that including my address will endanger me and/or the other Protected Persons.

  7. I request the following relief from the Court that     Alyssa Chrystie Montalbano        (name of person):

      a)   xBe ordered to refrain from contacting, harassing, injuring, stalking, touching, sexually assaulting,
           molesting, intimidating, and threatening me or other protected persons.

      b)   xBe ordered to have no contact at all with me or the other Protected Persons.
             or
           qBe allowed only the following limited contact with me or the other Protected Persons: Be specific.




      c)   xBe excluded from my home at (address): If you checked section 6, do not provide your address.
               ________________________________________________________________________________

      d)   xBe ordered to stay at least ___10,000__ yards from the following places. (address or description)
            If you checked section 6, do not provide your address.
           xHome: __________________________________________________________________________
           q Work: Name: ___________ Address: _________________________________
           xSchool: Name: _________________________ Address: ___________________________________
           qOther: __________________________________________________________________________
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                                                           ___________________________________________
                                                           Address
                                                           ___________________________________________

                                                           ___________________________________________
                                                           Telephone Number




  Notice: Colorado Revised Statutes §13-14-105 identifies that a temporary injunction may be issued by the Court
  and that upon personal service or upon waiver and acceptance of service by the Restrained Person, is to be in
  effect against the Restrained Person for a period determined to be appropriate by the Court. This injunction
  restrains the Restrained Person from:
  1. Ceasing to make payments for mortgage or rent, insurance, utilities or related services,
     transportation, medical care, or child care when the Restrained Person has a prior existing duty or
     legal obligation for making such payments.
  2. Transferring, encumbering, concealing, or in any way disposing of personal effects or real property,
     except in the usual course of business or for the necessities of life.
  The Restrained Person shall be required to account to the Court for all extraordinary expenditures made after the
  injunction is in effect.
  Any injunction issued shall not exceed one year after the issuance of the Permanent Civil Protection Order.
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                   UNITED STATES COUNTY COURT FOR THE
                    COUNTY OF BROOMFIELD COLORADO

   JAMES COREY GOODE,                         §
                                              §
        Petitioner,                           §
                                              §
   v.                                         §
                                              §
   ALYSSA-CHRYSTIE                            § CAUSE NUMBER: ________
   MONTALBANO,                                §
                                              §
        Defendant,                            §
                                              §
                                              §
                                              §

   BRIEF ACCOMPANYING VERIFIED COMPLAINT FOR PROTECTION
           ORDER AND TEMPORARY RESTRAINING ORDER
        COMES NOW, Mr. James Corey Goode and submits to the Court his

  Motion for Protective Order and Accompanying Brief, and shows:

                                   INTRODUCTION
        Mr. Goode has undergone years of repeated stalking and harassment by

  Alyssa Montalbano that, as shown below, must be restrained by this honorable

  Court in order to protect not only his health, safety and welfare but that of his wife,

  his son and his daughter.

                                     AUTHORITY
        Due to the increase in stalking cases reported over the year, the state of

  Colorado has adopted strict anti-stalking laws. (See 18-3-602, C.R.S.) These laws
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  mandate that stalkers be arrested and punished for their harassing behaviors, which

  can include: violence, threats, invasion of privacy, burglary, vandalism, and

  trespassing. Id. (emphasis added) Further, Colorado state law provides criminal

  punishment for someone who:

               “[r]epeatedly follows, approaches, contacts, places under
               surveillance, or makes any form of communication with another
               person, a member of that person's immediate family, or someone with
               whom that person has or has had a continuing relationship in a manner
               that would cause a reasonable person to suffer serious emotional
               distress and does cause that person, a member of that person's
               immediate family, or someone with whom that person has or has
               had a continuing relationship to suffer serious emotional distress.”
  Id.
        Recently, individuals in Colorado have been found guilty of multiple counts

  of criminal felony stalking for behavior such as texting, calling and following a

  victim (see People v. Wagner, 434 P. 3d 731 - Colo: Court of Appeals, 1st Div.

  2018; see also People v. Chase, 2013 COA 27, ¶¶ 53-54, 411 P.3d 740

  (concluding that several emails containing "implicit and explicit threats" was

  sufficient evidence of credible threats when victim considered the emails serious

  and undertook self-protective measures as a result). For civil stalking, a lower

  standard than that for criminal stalking, repeated approaches, contacts or forms of

  communication that causes a reasonable person to suffer serious emotional distress

  are sufficient to impose liability.
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        Severe emotional distress, under Colorado caselaw, may be shown in

  various ways. See People v. Carey, 198 P.3d 1223 at 1233 (Colo. App. 2008)

  (victim's testimony "that she was ‘very fearful’ and ‘very distressed’ because she

  realized that defendant could easily act on his threats" and that she "increased her

  level of awareness of her surroundings" was sufficient evidence of serious

  emotional distress); People v. Cross, 114 P.3d 1, 6 (Colo. App. 2004) (sufficient

  evidence of serious emotional distress when victim testified that the defendant's

  behavior caused her to change her work schedule, feel nervous, and have trouble

  sleeping) (citations omitted); People v. Sullivan, 53 P.3d 1181, 1185 (Colo. App.

  2002) (sufficient evidence of serious emotional distress when victim testified that

  she changed her routines, was afraid, felt she was constantly being watched, and

  had trouble sleeping). All of these elements are apparent in Mr. Goode and his

  family’s lives due to the acts of Alyssa Montalbano.

                                        FACTS
     1. The First TRO/Stalking Application
        This is the second time that Mr. Goode has had to pursue protection against

  Alyssa Chrystie Montalbano (“Montalbano”) due to her repeated stalking, threats,

  and invasion of Mr. Corey Goode’s privacy. Montalbano has stalked Mr. Goode by

  incessantly and repeatedly contacting and attempting to contact him with the sole

  purpose of coercing him into some fictitious and fanciful relationship that she has
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  concocted in her mind. In Mr. Goode’s first application for protection order, filed

  with this Court in June of 2018 and granted in July of 2018, Mr. Goode laid out a

  particularly terrifying and threatening communication she sent to him:

         “Alyssa sent an email after she agreed to cease contact with me on February
  2, 2018. In it she references the Conference we forbade her to attend that I was
  presenting at due to her 400 emails and repeated calls, letters, etc. In her email she
  says “did something occur in Hawaii? I ask because of a couple dreams. One, you
  may not be aware of anything... in the dream you were playing (yes in a disguise)
  and I scooped you up so the sniper on the hill wouldn't shoot you and eat you.
  I took you and placed you somewhere safe. You seemed oblivious the entire
  time. In the next dream (disguise again) you seemed to have caught a cold or had
  something occur that reminded me of my trip to Hawaii as a kid with my bff when
  she got sucked into the undertow by the shore and when she got back on shore she
  puked this clear mucally type bile vomit onto the sand. We promptly buried it and
  moved to the next cabana. :::grin::: Something similar to the bile - vomit was seen
  in the dream but with shuffles like a really bad cold and you were having a hard
  time breathing. I helped keep you breathing. Did you have any kind of ocean
  incident or catch a cold or have any kind of breathing issues?”


  (emphasis added).
        This incident premised Mr. Goode’s Stalking/TRO filed and granted in

  2018, but the underlying threats to life and body still loom, especially in light of

  her reaction to the most recent ruling on her lawsuit filed in Mesa County

  dismissing the action.

        Montalbano has sent him, since as early as 2017, messages, emails and

  letters with incomprehensible, made up legal-sounding language (as outlined in

  Mr. Goode’s previous TRO filed with this Court in June of 2018) threatening Mr.
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  Goode with a lawsuit and/or criminal charges (Montalbano is not, nor has she even

  been, a government attorney or anyone that may bring criminal charges on behalf

  of the state) unless and until he engaged with her.

        Mr. Goode respectfully requests this Court take judicial notice of his prior

  TRO/Stalking Application in June/July of 2018 and the materials contained

  therein.

     2. The Retaliatory Mesa Lawsuit

        In retaliation to Mr. Goode’s Stalking/TRO lawsuit filed on or around June

  15, 2018, Montalbano opened a lawsuit in Mesa County against Mr. Goode on

  June 25, 2018. As explained in the attached verified Complaint for Protection

  Order. Attached to this Brief in Response are the Register of Actions of the Mesa

  Action prior to removal, showing thirty-six filings in less than three months.

  (Exhibit 4). These filings are replete with Montalbano’s fanciful ideas of being

  married to Mr. Goode in another dimension, having romantic meetings through

  astral projection, and other disturbing stories as well as a painstakingly detailed

  review of Mr. Goode’s career and personal life details. The detail of her musings

  over Mr. Goode show the massive amounts of hours every day she spends

  obsessing over Mr. Goode. The thought of this attention causes severe emotional
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  distress to Mr. Goode and his family and is something that horror movies are

  premised on.

        Due to the nature of Montalbano’s claims seeming—to Mr. Goode’s

  counsel’s best analysis of the purported claims—to be of the nature of copyright,

  Mr. Goode removed the action to federal court on or around September of 2018.

  After the case was removed, Montalbano amended her claims—at the urging of

  Judge Moore and after Magistrate Gallagher recommended dismissal of the

  action—and the case was sent back to state court on or around December of 2018.

  (Exhibit 5). In the just over two months that the case was in federal court, the

  docket entries totaled eighty docket entries. Id. The vast majority of filings in

  both cases were by Montalbano, most stricken and/or ignored by the judges due to

  their sheer unfounded (in legal or reason), baseless and innocuousness nature. The

  amount of filings mounted after removal, and has doubtless reached over a

  hundred. All have been sent to Mr. Goode. All have caused repeated and

  continuing emotional distress. For two years now Mr. Goode has dealt with

  Montalbano’s repeated harassment, defamation and unwanted affections and

  attention. He has suffered physical stress due to the ongoing fear he endures.

        Now, after years of Montalbano’s ongoing and repeated harassment,

  stalking, and unwanted contact and attention, Mr. Goode has reached the point

  where he fears an impending attack of Montalbano’s intense focus resulting in
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  harm to himself and his family. Last year, Montalbano received a report and

  recommendation from a Federal Magistrate Judge calling her “delusional” (see

  Exhibit 1, see also Exhibit 3 (someone who has met Montalbano stating that when

  she met her “she was missing a few screws even back then”) in addition to a

  dismissal of her case against Mr. Goode by a State Court Judge, her response to

  both being inflammatory and a huge outlash. An excerpt reproduced below:




        She has since filed multiple motions against the Judge in the Mesa action

  calling for his recusal for “perjury” and accusing him of working with Mr. Goode

  and his counsel. Mr. Goode requests this Court enter a protective order to prevent

  Montalbano—someone who at least two judges and hundreds of lay people agree

  is extremely unstable—from harming, threatening or harassing Mr. Goode and/or

  his family further.

     3. Montalbano’s YouTube Account Focused Solely on Mr. Goode
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        Most recently, Montalbano has created a YouTube account purely for the

  purpose to harass, defame, threaten and discredit Mr. Goode. A screenshot of her

  channel is below:




  (accessed at https://www.youtube.com/channel/UCyiuJjzwQKX0dQGp8_kd8_w).

        On her YouTube channel Montalbano reads aloud—for hours at a time—her

  voluminous, nonsensical court filings and inserts delusional commentary about her

  “relationship” with Mr. Goode, an imaginary husband-and-wife or “twin flame”

  relationship she has been asserting since at least 2018 exists between herself and

  Mr. Goode. Mr. Goode has never had any face-to-face interaction with
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  Montalbano. He is happily married to his wife, and Montalbano’s repeated

  unwanted advances has caused severe emotional distress on the entire Goode

  family. Her disturbing “dream visions” involve twisted scenarios often blending

  Star Wars elements with Alice in Wonderland. Her advances are constant and

  unabating. Only this Court has it within its authority to make them stop.

        As shown above, Montalbano has terrified, emotionally hurt and threatened

  to hurt Mr. Goode and his family and they are in imminent danger of further abuse

  or threats if the protection order that is sought herein is not issued. Mr. Goode and

  his family are in constant terror that Montalbano may show up where they live, or

  to a conference they are attending, and attempt to harass, follow, or worse…inflict

  bodily harm—based on the multitude of postings and various harassment that they

  have all been exposed to. Mrs. Goode does not answer the door when Mr. Goode is

  gone and instructs her son and daughter to do the same out of fear for their safety.

  Mr. Goode checks in on his family more often than he did before out of fear for the

  safety of his wife and children. Their children do not play outside as much as they

  used to for fear of being watched, harassed or followed. The fact that the Goode

  family has altered their day-to-day, once carefree way of living is a tragedy to the

  extreme, especially for his son and daughter who should be allowed to enjoy life as

  any other child. Montalbano must be prevented from coming near or around Mr.

  Goode and his family permanently and must be prohibited from contacting anyone
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  related to him in any way. Further, and perhaps most importantly, she must

  explicitly be forbidden to attend any of the conferences or live events Mr. Goode

  presents at or attends.

                                   CONCLUSION
        This is but a cursory overview of the attached multitudes of evidence. Even

  more exists and will be brought forward at the Permanent Protective Order

  Hearing. Mr. Goode respectfully asks that this Court GRANT his preliminary

  protective order in accordance with the above and aforementioned.




        March 6, 2020                                      Respectfully,
                                                           /s James Corey Goode/
                                                           James Corey Goode
                               Exhibit
                                    of 501
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                                    IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF COLORADO
                                   Gordon P. Gallagher, United States Magistrate Judge


     Civil Action No. 18-cv-02060-RM-GPG


     Alyssa-Christie Montalbano,
               Plaintiff,
     v.
     James Corey Goode,
               Defendant.


              RECOMENDATION REGARDING DEFENDANT’S MOTION TO DISMISS


               This matter comes before the Court on a motion to dismiss filed by Defendant (ECF

     # 15),1 Plaintiff’s pro se2 response (titled reply) (ECF# 16) and Defendant’s reply (ECF #17).

     The motion has been referred to this Magistrate Judge for recommendation (ECF #25). 3 The

     Court has reviewed the pending motion, response, reply and all attachments. The Court has also

     considered the entire case file, the applicable law, and is sufficiently advised in the premises.

     1
       “(ECF #15)” is an example of the convention I use to identify the docket number assigned to a specific paper by the Court’s
     case management and electronic case filing system (CM/ECF). I use this convention throughout this Recommendation.

     2 The Court construes Plaintiff’s pleadings liberally because Plaintiff is not represented by an attorney. See Haines v. Kerner, 404

     U.S. 519, 520 21 (1972); Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991). However, the Court will not act as an advocate
     for a pro se litigant. See Hall, 935 F.2d at 1110.

     3
       Be advised that all parties shall have fourteen (14) days after service hereof to serve and file any written objections in order to
     obtain reconsideration by the District Judge to whom this case is assigned. Fed. R. Civ. P. 72(b). The party filing objections must
     specifically identify those findings or recommendations to which the objections are being made. The District Court need not
     consider frivolous, conclusive or general objections. A party’s failure to file such written objections to proposed findings and
     recommendations contained in this report may bar the party from a de novo determination by the District Judge of the proposed
     findings and recommendations. United States v. Raddatz, 447 U.S. 667, 676-83 (1980); 28 U.S.C. § 636(b)(1). Additionally, the
     failure to file written objections to the proposed findings and recommendations within fourteen (14) days after being served with
     a copy may bar the aggrieved party from appealing the factual findings of the Magistrate Judge that are accepted or adopted by
     the District Court. Thomas v. Arn, 474 U.S. 140, 155 (1985); Moore v. United States, 950 F.2d 656, 659 (10th Cir. 1991).

                                                                      1
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     Oral argument has not been requested and the Court finds that it is not necessary in this

     circumstance. This Magistrate Judge respectfully recommends that the motion be GRANTED.




              This matter, which was removed from state court, was instigated by the filing of

     Plaintiff’s “notice of default in dishonor” (ECF #26, pp. 6-7) and a letter to “Corey” dated June

     4, 2018 (ECF #26, pp. 3-5). Additionally, other documents have been filed in this action which

     appear to be in the nature of a complaint. See amendment/supplement notice of removal (ECF

     #12). As noted above, this matter comes before the Court after being removed from the state

     court, to wit, Mesa County. The manner of removal was haphazard at best and it is not entirely

     clear to the Court what the Plaintiff intended to construe as her initial complaint. As Plaintiff

     proceeds pro se, and as I must liberally construe the pleading consistent with Haines and Hall,

     see fn. 2, I am casting a wider net in terms of review of the initial pleadings.




     Plaintiff’s claims


              As discerned from the various documents set forth below, which may or may not actually

     be Plaintiff’s complaint, the Court construes that Plaintiff is attempting to proceed on the

     following supposed causes of action: (1) unauthorized use of intellectual property; (2) theft of

     copyrighted materials; (3) defamation; (4) slander; (5) libel; (5) fraudulent stalking; and (6)

     fraud.




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     Notice of Default in Dishonor (ECF #26, pp. 6-7)


             This document appears to the Court to be in the nature of a certificate of service.

     Therein, Plaintiff informs “Respondent,” James Corey Goode, of a number of documents he has

     purportedly be presented with and that he has “one week . . .to accept my offer for remedy

     revised.” Id. This document does not state a claim upon which relief can be granted, in no way

     complies with the pleading requirements of Rule 8, and bears no further discussion.




     Letter to Corey dated June 4, 2018 (ECF #26, pp. 3-6)


             This letter makes no claim for relief and bears no further discussion.




     Amendment/Supplement Notice of Removal (ECF #12)


             a.      Motion to Order, cease and desist unauthorized use of intellectual property, dream

                     visions, copyrighted materials and defamation of character (ECF #12-1):


             Plaintiff claims that Mr. Goode “has been using [Plaintiff’s] intellectual property, dream

     visions, and copyrighted materials to his benefit.” Id. at p. 2, para. (a).


             Plaintiff claims that Mr. Goode “agrees he and associates plan to continue to use

     [Plaintiff’s] materials to their benefit and [Plaintiff’s] detriment.” Id. at p. 2, para. (b).


             Plaintiff claims that Mr. Goode has been libeling, slandering, defaming, and fraudulently

     stalking Plaintiff. Id. at p. 2, para. (c).




                                                         3
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             Plaintiff claims that Mr. Goode has been “performing military grade tactics” to defraud

     Plaintiff’s “intellectual property, dream visions, and copyrighted materials during 2017 and into

     2018” and that there is $70,000.00 in damages. Id. at p. 2, para. (d).




             b.       Memorandum brief in support of motion to order (ECF #12-1, pp. 18-24):


             Plaintiff claims that she emailed materials to Mr. Goode for use in the show “Cosmic

     Disclosure” on “GAIA INC” and that Plaintiff was defrauded in that Mr. Goode used Plaintiff’s

     materials for “profiteering and public acclaim.” (ECF #12-1, pp. 18-24, para. 21, passim).


             Plaintiff provides specific examples of the intellectual property she believes was

     misappropriated at pages 41-48 (ECF #12-1). These include what Plaintiff terms as “intellectual

     property” (ECF #12-1, p 41) and which Plaintiff states she herself emailed to Defendant at

     various times.




     Standard of Review

             The Court may dismiss a complaint for failure to state a claim upon which relief can be

     granted. Fed.R.Civ.P. 12(b)(6). Dismissal under Rule 12(b)(6) may also be based on the lack of a

     cognizable legal theory. See Golan v. Ashcroft, 310 F. Supp. 2d 1215, 1217 (D. Colo. 2004).

     To withstand a Rule 12(b)(6) motion to dismiss, a complaint must contain enough allegations of

     fact, which, taken as true, “state a claim to relief that is plausible on its face.” Bell Atlantic Corp.

     v. Twombly, 550 U.S. 544, 570 (2007); Khalik v. United Air Lines, 671 F.3d 1188, 1190 (10th

     Cir. 2012). Although allegations of fact are accepted as true, legal conclusions are not. Ashcroft


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     v. Iqbal, 556 U.S. 662, 678–79 (2009). Mere “labels and conclusions” and “a formulaic recitation

     of the elements of a cause of action” will not suffice. Twombly, 550 U.S. at 555. “Factual

     allegations must be enough to raise a right to relief above the speculative level.”               Id.

     Accordingly, the Court disregards conclusory statements and looks only to whether the

     remaining factual allegations plausibly suggest the defendant is liable. Khalik, 671 F.3d at 1190-

     91.

             Where the allegations in a complaint “are so general that they encompass a wide swath of

     conduct, much of it innocent, then the plaintiffs have not nudged their claims across the line from

     conceivable to plausible.” Robbins v. Oklahoma, 519 F.3d 1242, 1247 (10th Cir. 2008) (internal

     quotations omitted) (“The nature and specificity of the allegations required to state a plausible

     claim will vary based on context . . . [and] requires the reviewing court to draw on its judicial

     experience and common sense.” Kansas Penn Gaming, LLC v. Collins, 656 F.3d 1210, 1214-15

     (10th Cir. 2011)).

             “The mere metaphysical possibility that some plaintiff could prove some set of

             facts in support of the pleaded claims is insufficient; the complaint must give the

             court reason to believe this plaintiff has a reasonable likelihood of mustering

             factual support for these claims.”



     Ridge at Red Hawk, L.L.C. v. Schneider, 493 F.3d 1174, 1177 (10th Cir. 2007) (emphasis in

     original).

             As was noted in Robbins, “context matters.”         Robbins, 519 F.3d at 1248 (citation

     removed). “A simple negligence action based on an automobile accident may require little more

     than the allegation that the defendant negligently struck the plaintiff with his car while crossing a



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     particular highway on a specified date and time.” Id. “[I]t is particularly important . . . that the

     complaint make clear exactly who is alleged to have done what to whom, to provide each

     individual with fair notice as to the basis of the claims against him or her, as distinguished from

     collective allegations . . .” Id. at 1250 (emphasis in original) (continuing on to determine that

     collective allegations against defendants as a whole makes it impossible to ascertain what any

     specific defendant may have done).



     Rule 8

              The twin purposes of a complaint are to give the opposing parties fair notice of the basis

     for the claims against them so that they may respond and to allow the Court to conclude that the

     allegations, if proven, show that the plaintiff is entitled to relief. See Monument Builders of

     Greater Kansas City, Inc. v. American Cemetery Ass’n of Kansas, 891 F.2d 1473, 1480 (10th

     Cir. 1989).    The requirements of Rule 8 are designed to meet these purposes.               See TV

     Communications Network, Inc. v. ESPN, Inc., 767 F. Supp. 1062, 1069 (D. Colo. 1991), aff’d,

     964 F.2d 1022 (10th Cir. 1992). Rule 8(a) provides that a complaint “must contain (1) a short

     and plain statement of the grounds for the court’s jurisdiction, . . . (2) a short and plain statement

     of the claim showing that the pleader is entitled to relief; and (3) a demand for the relief sought.”

     The philosophy of Rule 8(a) is reinforced by Rule 8(d)(1), which provides that “[e]ach allegation

     must be simple, concise, and direct.” “At some point the factual detail in a complaint may be so

     sketchy that the complaint does not provide the type of notice of the claim to which the defendant

     is entitled under Rule 8.” Airborne Beepers & Video, Inc. v. AT & T Mobility L.L.C., 499 F.3d

     663, 667 (7th Cir. 2007) (emphasis mine). The philosophy of Rule 8(a) is reinforced by Rule

     8(d)(1), which provides that "[e]ach allegation must be simple, concise, and direct." Taken


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     together, Rules 8(a) and (d)(1) underscore the emphasis placed on clarity and brevity by the

     federal pleading rules. Prolix, vague, or unintelligible pleadings violate Rule 8.




     Copyright Infringement


             Plaintiff claims, without providing any information as to the copyright at issue, that her

     copyright was infringed. To prevail on a claim of copyright infringement, a Plaintiff must prove:

     (1) the work is the subject of a valid copyright; (2) the plaintiff owns the copyright; (3) the

     defendant copied the protected expression in plaintiff’s copyrighted work. See Feist Publ’ns,

     Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991).


             Plaintiff has in no way proven that any work is the subject of a valid copyright, an

     essential element to proving copyright infringement. In the absence of even minimal proof of a

     copyright, Plaintiff has no met the pleading standards to move forward on this claim.




             Plaintiff has not met the pleading standards required under Rule 8. Plaintiff’s various

     attempt at a complaint, which defy the Court to even determine which pleading is intended as the

     operative complaint, do not contain: (1) a short and plain statement of the grounds for the court’s

     jurisdiction, . . . (2) a short and plain statement of the claim showing that the pleader is entitled to

     relief; nor (3) a demand for the relief sought. Further, with regard to Rule 12, Plaintiff has failed

     to state a claim to relief that is plausible on its face. With all due respect to Plaintiff’s beliefs, as

     presented to the Court, they do not support the causes of action to even the minimal standards set

     forth under Rules 8 and 12.


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             Plaintiff asserts the violation of a legal interest that clearly does not exist or facts that do

     not support an arguable claim for relief. The complaint(s) lack coherent factual allegations or

     claims. They describe what seems a delusional scenario of use of supposed dreams emailed to

     another party. The nonsensical allegations do not support an arguable claim for relief, and a more

     specific pleading would not cure the failure of the purported claims nor place them in a position to

     clear the hurdles of Rule 8 or 12. The complaint fails to provide a short and plain statement of Plaintiff’s

     claims showing that she is entitled to relief. It is disjointed and confusing.


             The general rule that pro se pleadings must be construed liberally has limits, and “the court

     cannot take on the responsibility of serving as the litigant’s attorney in constructing arguments and

     searching the record.” Garrett v. Selby Connor Maddux & Janer, 425 F.3d 836, 840 (10th Cir. 2005); see

     also United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991) (“Judges are not like pigs, hunting for

     truffles buried in briefs.”); Ketchum v. Cruz, 775 F. Supp. 1399, 1403 (D. Colo. 1991) (vague and

     conclusory allegations that his rights have been violated does not entitle a pro se pleader to a day in court

     regardless of how liberally the pleadings are construed), aff’d, 961 F.2d 916 (10th Cir. 1992). “[I]n

     analyzing the sufficiency of the plaintiff’s complaint, the court need accept as true only the plaintiff’s

     well-pleaded factual contentions, not his conclusory allegations.” Hall, 935 F.2d at 1110. Here, despite

     the Court’s prior advisement, Plaintiff has failed to plead a short and plain statement of his claims

     showing that she is entitled to relief.



             For the foregoing reasons, I respectfully RECOMMEND that the motion to dismiss be

     GRANTED.




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            With regard to the pleadings filed by Defendant, through Counsel, the Court would note

     that Counsel’s rhetorical flourishes, e.g., “Its Complaint fails for not many reasons, but for all

     reasons . . .real or imaginable, in state court or federal, in this dimension or the next” (ECF #15,

     p. 1) (sic) (emphasis original), are unnecessary and detract from a reasoned and cogent argument.




                    Dated at Grand Junction, Colorado this October 19, 2018.




                            Gordon P. Gallagher
                            United States Magistrate Judge




                                                      9
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                                          of 50- Conferral Attempt
 Fw: Motion For Permanent Injunctive Relief

         Corey Goode
  CG  Wed, 26 Feb 2020 5:06:55 PM -0600
     To "Yanaroslaw" <valerie@yanaroslaw.com>, "Liz Lorie" <lizlorie@gmail.com>

   Tags 
          TLS Learn more
Security 




Corey Goode
CEO: Goode Enterprise Solutions
LinkedIn: https://www.linkedin.com/in/corey-goode-7024621/
IMDB: https://www.imdb.com/name/nm8982732/



----- Forwarded Message -----
From: Ari Stone <aristoneart@ymail.com>
To: Corey Goode <goodetech@yahoo.com>
Sent: Wednesday, December 26, 2018, 07:51:50 PM MST
Subject: Motion For Permanent Injunctive Relief - Conferral Attempt

Mr. Goode,

I would like to discuss a deal with you.

Here's some food for thought as to why you should discuss a deal with me. Let's say you, David Wilcock, and
other associates made everything up (fake news and all) completely based off of my dreams during 2017 and
into 2018 like the evidence is pointing to; except where you posted links to outside sourced news articles.
While you guys may make everything up, I do not.

If this matter goes to trial, you will ﬁnd I have an 'uncanny' ability to expose you and your friends and know
exactly how you guys are all connected.

To give you an idea of who I will subpoena to testify:

Daniel Liszt - to discuss marketing-cults
Gigi Young - the value of psychics to deep state
Bill Ryan - data mining of his website and info
Joe 'from the Carolinas' - threatening those who speak out about you.

I will also have others testify to my dream abilities where I saw things about them, this may include Jay
Weidner. It is irrelevant to the case, but for your knowledge and in consideration of your feelings towards the
guy, I have not been in contact with Jay. He would be subpoenaed as an expert witness to testify to my
shamanic abilities and is someone with the credentials to verify such abilities for the court record.

If at any time, you (or any of your associates... whom I will treat as being you having done so) threaten (further)
any of my potential or subpoenaed witnesses (or me for that matter), I will pursue full criminal charges against
you and any of your 'friends' that the evidence brings into the case.

Everything I said I would do if you did something, you have seen me do.

When you are ready to negotiate a morally appropriate and proper deal with me based on the evidence, you
and/or your proper attorney may contact me.
         Case No. 1:20-cv-00742-DDD-KAS Document 26-4 filed 06/24/20 USDC Colorado pg 36
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I have attached a MOTION FOR PERMANENT INJUNCTIVE RELIEF and a (Proposed) ORDER FOR
DECLARATORY INJUNCTIVE RELIEF to immediately protect my information (Trade Secrets sent as dream
visions) sent by e-mail. I wrote the Motion with the assumption you will continue to avoid and evade
responding. So, it will likely be ﬁled as seen attached if I do not hear from you per your typical style.

Will you be opposed or unopposed?

Respectfully, Alyssa Montalbano


This email conferral attempt sent pursuant to D.C.COLO.LCivR. 7.1(a).

Conﬁdentiality Notice: The information contained in this email and any attachments may be privileged and conﬁdential. Any
dissemination, copying, or use of or reliance upon such information by or to anyone other than the intended recipient(s) is prohibited. If
you have received this message in error, please notify the sender immediately at the email address above and destroy any and all
copies of this message.




3 Attachments


 068_MOTION FOR PERMANENT INJUNCTIVE RELIEF
                                     RELIEF.pdf
                                            .pdf                                068-1_Order Injunctive Relief.pdf
                                                                                                       Relief.pdf


 068-2_EXHIBIT VERIFIED COMPLAINT
                        COMPLAINT.pdf
                                  .pdf
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                                        EXHIBIT 3




  Taken from a Facebook Group—“Ari Stone” is Alyssa Montalbano’s alias.


   Source: https://www.facebook.com/groups/1165103120314699/
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                                        District of Colorado (Denver)
                           CIVIL DOCKET FOR CASE #: 1:18-cv-02060-RM-GPG


Montalbano v. Goode                                                     Date Filed: 08/13/2018
Assigned to: Judge Raymond P. Moore                                     Date Terminated: 12/03/2018
Referred to: Magistrate Judge Gordon P. Gallagher                       Jury Demand: Defendant
Case in other court: Mesa County Court, 18-cv-50                        Nature of Suit: 370 Other Fraud
Cause: 17:101 Copyright Infringement                                    Jurisdiction: Federal Question
Plaintiff
Alyssa-Christie Montalbano                               represented by Alyssa-Christie Montalbano
[pro se e-ﬁler, effective 10/19/2018]                                   2536 Rimrock Ave
                                                                        Suite 400-117
                                                                        Grand Junction, CO 81505
                                                                        970-250-8365
                                                                        Email: AriStoneArt@Ymail.com
                                                                        PRO SE


V.
Defendant
James Corey Goode                                        represented by Valerie Yanaros Wilde
                                                                        Yanaros Law, P.C.
                                                                        5057 Keller Springs
                                                                        Suite 300
                                                                        Addison, TX 76001
                                                                        512-826-7553
                                                                        Email: valerie@yanaroslaw.com
                                                                        ATTORNEY TO BE NOTICED
Counter Claimant
James Corey Goode                                        represented by Valerie Yanaros Wilde
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED


V.
Counter Defendant
Alyssa-Christie Montalbano                               represented by Alyssa-Christie Montalbano
[pro se e-ﬁler, effective 10/19/2018]                                   (See above for address)
                                                                        PRO SE


Date Filed        #   Docket Text
08/13/2018        1 NOTICE OF REMOVAL by James Corey Goode from Mesa County, Case Number 18CV50. (Filing
                    fee $ 400, Receipt Number 1082-6245008), ﬁled by James Corey Goode. (Attachments: # 1 Exhibit
                    Exhibit A-State Court Complaint, # 2 Exhibit Exhibit B-Defendant's Motion to Dismiss, # 3 Exhibit
                    Exhibit C-Plaintiff's Response to Motion to Dismiss, # 4 Exhibit Exhibit D-Defendant's Reply to
                    Response to Motion to Dismiss)(Wilde, Valerie) (Entered: 08/13/2018)
08/13/2018        2 Notice of Default in Dishonor against James Corey Goode, ﬁled by Alyssa-Christie Montalbano.
         Case No. (cmadr, ) (Entered: 08/14/2018)
                  1:20-cv-00742-DDD-KAS        Document 26-4 filed 06/24/20 USDC Colorado pg 45
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08/13/2018    3 Report re Copyright: Report on the ﬁling of an action emailed separately to the Director of the
                  Copyright Ofﬁce. (cmadr, ) (Entered: 08/14/2018)
08/13/2018      4 FIRST AND FINAL NOTICE TO ALL ATTORNEY(S) AND UNREPRESENTED PARTIES IN
                  REMOVED, TRANSFERRED, OR OTHER CASES. To receive any further notice in a case removed
                  or transferred to this court, or special matters including discovery disputes, bankruptcy appeals, or
                  withdrawls of reference, Multi-district litigation (MDL), etc., all attorneys and unrepresented parties
                  must enter an appearance under D.C.COLO.LAttyR 5(a). An attorney must be an active member of
                  this court's bar and be in good standing in accordance with D.C.COLO.LAttyR 3. A waiver of the fee
                  for bar admission may apply in limited situations. (cmadr, ) (Entered: 08/14/2018)
08/13/2018      5 Case assigned to Judge Wiley Y. Daniel and drawn to Magistrate Judge Scott T. Varholak. Text Only
                  Entry. (cmadr, ) (Entered: 08/14/2018)
08/13/2018      6 Magistrate Judge consent form issued pursuant to 28 U.S.C. 636(c). (cmadr, ) (Entered: 08/14/2018)
08/13/2018     26 COMPLAINT ﬁled from State Court against James Corey Goode ﬁled by Alyssa-Christie
                  Montalbano.(cthom, ) (Entered: 09/04/2018)
08/15/2018      7 MEMORANDUM RETURNING CASE by Judge Wiley Y. Daniel. (rkeec) (Entered: 08/15/2018)
08/15/2018      8 CASE REASSIGNED pursuant to 7 Memorandum Returning Case. This case is randomly reassigned
                  to Magistrate Judge Scott T. Varholak. All future pleadings should be designated as 18-cv-02060-STV.
                  (Text Only Entry) (rkeec) (Entered: 08/15/2018)
08/15/2018      9 Magistrate Judge consent form issued pursuant to D.C.COLO.LCivR 40.1, direct assignment of civil
                  actions to full time magistrate judges. (rkeec) (Entered: 08/15/2018)
08/15/2018     10 CERTIFICATE of Service by Mail by Clerk of Court re 7 Memorandum Returning Case, 8 Case
                  Reassigned, 9 Magistrate Judge sent to Alyssa-Christie Montalbano; 2536 Rimrock Avenue, Suite
                  400-117; Grand Junction, CO 81505. Text Only Entry. (rkeec) (Entered: 08/15/2018)
08/15/2018     11 ORDER Setting Scheduling Conference for 9/19/2018 10:00 AM in Courtroom A 402 before
                  Magistrate Judge Scott T. Varholak. Consent Form due by 9/5/2018, by Magistrate Judge Scott T.
                  Varholak on 8/15/2018. (jgonz, ) (Entered: 08/16/2018)
08/17/2018     12 SUPPLEMENT/AMENDMENT to 1 Notice of Removal, by Defendant James Corey Goode.
                  (Attachments: # 1 Exhibit Amended Exhibit A to Dkt. 1, # 2 Exhibit Supplemental Exhibit E to Dkt.
                  1)(Wilde, Valerie) (Entered: 08/17/2018)
08/20/2018     13 ANSWER to Complaint, COUNTERCLAIM against Alyssa-Christie Montalbano by James Corey
                  Goode.(Wilde, Valerie) (Entered: 08/20/2018)
08/27/2018     14 NOTICE Register of Actions by Defendant James Corey Goode (Wilde, Valerie) (Entered:
                  08/27/2018)
08/27/2018     15 MOTION to Dismiss for Failure to State a Claim by Defendant James Corey Goode. (Wilde, Valerie)
                  (Entered: 08/27/2018)
08/27/2018     16 RESPONSE to 15 MOTION to Dismiss for Failure to State a Claim by Plaintiff Montalbano ﬁled by
                  Defendant James Corey Goode. (Wilde, Valerie) (Entered: 08/27/2018)
08/27/2018     17 REPLY to Response to 15 MOTION to Dismiss for Failure to State a Claim by Defendant Mr. Goode
                  ﬁled by Defendant James Corey Goode. (Wilde, Valerie) (Entered: 08/27/2018)
08/27/2018     18 AFFIDAVIT by Plaintiff Montalbano in Support of Service by Publication by Defendant James Corey
                  Goode. (Wilde, Valerie) (Entered: 08/27/2018)
08/27/2018     22 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES: re: 18
                  Afﬁdavit, 16 Response to Motion ﬁled by attorney Valerie Wilde. The document was scanned and not
                  converted directly to portable document format (PDF). DO NOT REFILE THE DOCUMENT.
                  Action to take - future documents must be ﬁled pursuant to D.C.COLO.LCivR 5.1(a) and 1.3(f) of the
                  Electronic Case Filing Procedures (Civil cases). (Text Only Entry) (cthom, ) (Entered: 09/04/2018)
08/31/2018Case 19
               No. CONSENT     to Jurisdiction of Magistrate
                   1:20-cv-00742-DDD-KAS          DocumentJudge
                                                              26-4 byfiled
                                                                       Plaintiff Alyssa-Christie
                                                                           06/24/20              Montalbano.
                                                                                       USDC Colorado      pgAll
                                                                                                             46parties do
                   not consent. (Attachments: # 1 Envelope)(jgonz, ) (Entered: 09/04/2018)
                                                          of 50

08/31/2018      20 MOTION for Remand by Plaintiff Alyssa-Christie Montalbano. (Attachments: # 1 Exhibit 1, # 2
                   Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Envelope)(jgonz, ) (Entered: 09/04/2018)
09/04/2018      21 CASE REASSIGNED pursuant to 19 Consent/Non-Consent to Jurisdiction of Magistrate Judge. All
                   parties do not consent. This case is randomly reassigned to Judge Raymond P. Moore. All future
                   pleadings should be designated as 18-cv-02060-RM. (Text Only Entry) (jgonz, ) (Entered:
                   09/04/2018)
09/04/2018      23 ORDER REFERRING CASE to Magistrate Judge Scott T. Varholak. Pursuant to 28 U.S.C. § 636(b)
                   (1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b), this case is referred to the assigned United States
                   Magistrate Judge to (1) convene a scheduling conference under Fed. R. Civ. P. 16(b) and enter a
                   scheduling order meeting the requirements of D.C.COLO.LCivR 16.2, (2) conduct such status
                   conferences and issue such orders necessary for compliance with the scheduling order, including
                   amendments or modiﬁcations of the scheduling order upon a showing of good cause, (3) hear and
                   determine pretrial matters, including discovery and other non-dispositive motions, (4) conduct a
                   pretrial conference and enter a pretrial order, and (5) conduct hearings, including evidentiary hearings,
                   and submit proposed ﬁndings of fact and recommendations for rulings on dispositive motions. Court
                   sponsored alternative dispute resolution is governed by D.C.COLO.LCivR 16.6. On the
                   recommendation or informal request of the magistrate judge or on the request of the parties by motion,
                   this court may direct the parties to engage in an early neutral evaluation, a settlement conference, or
                   another alternative dispute resolution proceeding. Entered by Judge Raymond P. Moore on 9/4/2018.
                   (Text Only Entry) (rmsec ) (Entered: 09/04/2018)
09/04/2018      24 MINUTE ORDER: With the assignment of this matter, the parties are advised that throughout this
                   case they are expected to be familiar and comply with not only the Local Rules of this District, but
                   also Judge Raymond P. Moore's Civil Practice Standards, which may be found at:
                   http://www.cod.uscourts.gov/JudicialOfﬁcers/ActiveArticleIIIJudges/HonRaymondPMoore.aspx. SO
                   ORDERED by Judge Raymond P. Moore on 9/4/2018. (Text Only Entry) (rmsec ) (Entered:
                   09/04/2018)
09/04/2018      25 MEMORANDUM regarding 15 MOTION to Dismiss for Failure to State a Claim ﬁled by James
                   Corey Goode, 20 MOTION to Remand ﬁled by Alyssa-Christie Montalbano. Motions referred to
                   Magistrate Judge Scott T. Varholak. Entered by Judge Raymond P. Moore on 9/4/2018. (Text Only
                   Entry) (rmsec) (Entered: 09/04/2018)
09/05/2018      27 ORDER REASSIGNING MAGISTRATE JUDGE The case is REASSIGNED to Magistrate Judge
                   Gordon P. Gallagher and all future ﬁlings in this case shall reﬂect the case number of 18-cv-02060-
                   RM-GPG. ORDERED by Judge Raymond P. Moore on 9/5/2018. (cthom, ) (Entered: 09/05/2018)
09/05/2018      28 OBJECTIONS to 1 Notice of Removal, by Plaintiff Alyssa-Christie Montalbano. (cthom, ) (Entered:
                   09/05/2018)
09/05/2018      29 NOTICE re 19 Consent to Jurisdiction of Magistrate Judge by Counter Claimant James Corey Goode
                   (Wilde, Valerie) (Entered: 09/05/2018)
09/06/2018      30 MINUTE ORDER: This matter comes before the Court sua sponte. The reference in ECF No. 25 of
                   the motion to remand (ECF No. 20) is withdrawn. On or before September 10, 2018, defendant is
                   ORDERED to respond to the motion to remand. In doing so, among other things, defendant is
                   instructed to state the speciﬁc date he received a copy of plaintiff's complaint as alleged in paragraph 3
                   of the notice of removal. (See ECF No. 1 at 2.) In addition, on or before September 7, 2018, defendant
                   is ORDERED to ﬁle a copy of the motion to dismiss that was actually ﬁled in State court. In other
                   words, unlike the current version, the motion to dismiss should contain the stamp of the State court
                   indicating when it was ﬁled (i.e., like the document at ECF No. 1-3; none of the other exhibits
                   attached to the notice of removal contain a stamp). At the same time, defendant shall also ﬁle a copy
                   of the entire State court docket sheet as required by this District's Local Rule 81.1(b). To be clear,
                   whatever it is that defendant's counsel concocted and ﬁled at ECF No. 14 is NOT the register of
                   actions for the state court case. SO ORDERED by Judge Raymond P. Moore on 9/6/2018. (Text Only
                   Entry) (rmsec ) (Entered: 09/06/2018)
09/07/2018Case 31
               No. ORDER   vacating Scheduling Conference
                   1:20-cv-00742-DDD-KAS       Document set     for 9/19/2018
                                                             26-4             at 10:00
                                                                    filed 06/24/20     AM with
                                                                                     USDC        Magistrate
                                                                                             Colorado   pg Judge
                                                                                                            47
                   Vaholak. Magistrate Judge may re-set this conference at an appropriate time. By Magistrate Judge
                                                        of 50
                   Gordon P. Gallagher on September 7, 2018. Text Only Entry (gpgsec ) (Entered: 09/07/2018)
09/07/2018     32 SUPPLEMENT/AMENDMENT and Motion in Fulﬁllment of Court Order (Docket 30) by Defendant
                  James Corey Goode. (Attachments: # 1 Exhibit A--Goode MTD As Filed, # 2 Exhibit B--Order
                  Service By Publication, # 3 Exhibit C--Record Search 08302018)(Wilde, Valerie) (Entered:
                  09/07/2018)
09/07/2018     33 First MOTION for Extension of Time to File Case Register of State Court Action by Defendant James
                  Corey Goode. (Wilde, Valerie) (Entered: 09/07/2018)
09/10/2018     34 RESPONSE to 20 MOTION to Remand ﬁled by Defendant James Corey Goode. (Attachments: # 1
                  Declaration Goode, # 2 Declaration Wilde, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit, # 6 Exhibit 1, # 7
                  Exhibit 2)(Wilde, Valerie) (Entered: 09/10/2018)
09/11/2018     35 ORDER: Scheduling Conference set for 10/30/2018 10:00 AM in Room 323 (Grand Junction) before
                  Magistrate Judge Gordon P. Gallagher. A Scheduling Conference is set in GRAND JUNCTION,
                  Colorado at the Wayne Aspinall Federal Building - United States Courthouse, 400 Rood Avenue,
                  Grand Junction, CO 81501 before U.S. Magistrate Judge Gordon P. Gallagher. The parties shall
                  comply with the Instructions to Scheduling Order for U.S. Magistrate Judge Gordon P. Gallagher
                  which can be found at www.cod.uscourts.gov. Parties concerned regarding travel time and expense to
                  Grand Junction for appearances before the Magistrate Judge are referred to this Magistrate Judge's
                  policy in that regard which can be found at the above website. By Magistrate Judge Gordon P.
                  Gallagher on September 11, 2018. Text Only Entry (gpgsec) (Entered: 09/11/2018)
09/17/2018     36 AMENDMENT to Objection to Notice of Removal by Plaintiff Alyssa-Christie Montalbano. (cthom, )
                  (Entered: 09/17/2018)
09/17/2018     37 AMENDMENT "Two-To Incorrectly Filed Objection to First Motion for Extension of Time to File
                  Court Register of the State Court Action No. 18cv-50" by Plaintiff Alyssa-Christie Montalbano.
                  (cthom, ) (Entered: 09/17/2018)
09/17/2018     38 OBJECTIONS to "Amendments to Document Filed from the State Court Action Pursuant to
                  D.C.Colo.L.Civ.R 81.1" by Plaintiff Alyssa-Christie Montalbano. (cthom, ) (Entered: 09/17/2018)
09/17/2018     39 AMENDMENTS to "Incorrectly Filed Objection to First Motion for Extension of Time to File Court
                  Register of the State Court Action No. 18cv-50" by Plaintiff Alyssa-Christie Montalbano. (cthom, )
                  (Entered: 09/17/2018)
09/17/2018     40 MOTION to "Reduce Sanctions Safe Harbor Time to 7 Days or Less" by Plaintiff Alyssa-Christie
                  Montalbano. (cthom, ) (Entered: 09/17/2018)
09/17/2018     41 NOTICE of E-Service to Defendant Counsel by Plaintiff Alyssa-Christie Montalbano (cthom, )
                  (Entered: 09/17/2018)
09/17/2018     42 Second MOTION for Extension of Time to File Case Register of State Court Action by Defendant
                  James Corey Goode. (Attachments: # 1 Wilde Declaration)(Wilde, Valerie) (Entered: 09/17/2018)
09/18/2018     43 ORDER denying 40 Motion for Order. SO ORDERED by Judge Raymond P. Moore on 9/18/2018.
                  (Text Only Entry ) (rmsec ) (Entered: 09/18/2018)
09/18/2018     44 ORDER: This matter comes before the Court with the ﬁling of defendant's ﬁrst and second motions
                  for extension of time to ﬁle the state register of actions (ECF Nos. 33, 42). The ﬁrst motion for
                  extension of time (ECF No. 33) is DENIED AS MOOT. As for the second motion for extension the
                  time (ECF No. 42), although the Court doubts that it would ordinarily grant the motion in light of the
                  inadequate reason given for needing more time, on this occasion, the Court will GRANT the second
                  motion (ECF No. 42) to the extent that defendant may have until September 24, 2018 to ﬁle the state
                  register of actions. NO FURTHER EXTENSION WILL BE ALLOWED UNDER ANY
                  CIRCUMSTANCES. Simply put, defendant removed this case over a month ago, and, yet, still no
                  register of actions has been ﬁled. Thus, defendant's excuse that he has not received the register of
                  actions from the state court is irrelevant given that the state court did not receive defendant's request
                  for the same until September 11, 2018. This is especially so given that the pro se plaintiff has ﬁled the
        Case No. functional equivalent of the register
                 1:20-cv-00742-DDD-KAS                 of actions.
                                                Document      26-4(See  ECF
                                                                    filed   No. 39 atUSDC
                                                                          06/24/20   4-7.) The Court further
                                                                                            Colorado    pg 48notes that
                 defendant's counsel's conferral with plaintiff was inadequate. Simply sending an email is not conferral.
                                                         of 50
                 (See ECF No. 42 at 3 n.1.) SO ORDERED by Judge Raymond P. Moore on 9/18/2018. (Text Only
                 Entry ) (rmsec ) (Entered: 09/18/2018)
09/20/2018    45 SUPPLEMENT/AMENDMENT to 14 Notice (Other) and Certiﬁcate of Conference by Defendant
                 James Corey Goode. (Attachments: # 1 Exhibit A-Register of Actions, # 2 Exhibit B-Email Plaintiff
                 091920, # 3 Wilde Dec in Support Certiﬁcate of Conference)(Wilde, Valerie) (Entered: 09/20/2018)
09/21/2018    46 ANSWER/REPLY to 13 Answer to Complaint, Counterclaim by Alyssa-Christie Montalbano.
                 (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(cthom, ) (Entered: 09/21/2018)
09/27/2018    47 ORDER to Respond as to Plaintiff Alyssa Christie Montalbano. The Court ORDERS plaintiff to
                 respond to this Order and clarify whether she still consents to the removal of this case from State
                 court. Plaintiff shall respond to this Order on or before October 4, 2018. ORDERED by Judge
                 Raymond P. Moore on 9/27/2018. (cthom, ) (Entered: 09/27/2018)
10/01/2018    48 ORDER Directing Plaintiff to the Pro Se Clinic. ORDERED by Judge Raymond P. Moore on
                 10/1/2018. (cthom, ) (Entered: 10/01/2018)
10/03/2018    49 REPLY to 47 Order to Respond by Plaintiff Alyssa-Christie Montalbano. (cthom, ) (Entered:
                 10/03/2018)
10/10/2018    50 REPLY to 48 Order by Counter Defendant Alyssa-Christie Montalbano, Plaintiff Alyssa-Christie
                 Montalbano. (Attachments: # 1 Exhibit)(cthom, ) (Entered: 10/11/2018)
10/10/2018    51 AMENDMENT to 49 Reply by Counter Defendant Alyssa-Christie Montalbano, Plaintiff Alyssa-
                 Christie Montalbano. (cthom, ) (Entered: 10/11/2018)
10/12/2018    52 ORDER: In response to the Court's order (ECF No. 47), Plaintiff Alyssa Christie Montalbano has ﬁled
                 an "Amendment to Reply to Order" (ECF No. 51), indicating that she consents to removal of this case.
                 Therefore, the pending motion for remand (ECF No. 20) is DENIED as MOOT. SO ORDERED by
                 Judge Raymond P. Moore on 10/12/2018. (Text Only Entry ) (rmsec ) (Entered: 10/12/2018)
10/17/2018    53 Unopposed MOTION for Extension of Time by Plaintiff Alyssa-Christie Montalbano. (cthom, )
                 (Entered: 10/17/2018)
10/17/2018    54 MEMORANDUM regarding 53 MOTION for Extension of Time to ﬁled by Alyssa-Christie
                 Montalbano. Motion referred to Magistrate Judge Gordon P. Gallagher. Entered by Judge Raymond P.
                 Moore on 10/17/2018. (Text Only Entry) (rmsec ) (Entered: 10/17/2018)
10/18/2018    55 ORDER granting in part and denying in part 53 Motion for Extension of Time to File: The motion is
                 granted in that the Court hereby vacates the scheduling conference. The motion is denied in that the
                 Court denies the motion to reschedule the scheduling conference. Rather, the Court sua sponte stays
                 all discovery and the scheduling order process at this time and vacates any current requirement that the
                 parties confer regarding or complete the scheduling order. To be clear, as at least one party in this
                 matter proceeds pro se, DO NOT complete the scheduling order or meet to do so and the Court is
                 NOT re-setting the scheduling conference at this time. The Court will let you know later if you need to
                 do so. Keeping in mind the factors set forth in String Cheese Incident, LLC. v. Stylus Shows, Inc.,
                 02CV01934LTBPAC, 2006 WL 894955, at *2 (D.Colo. Mar. 30, 2006), the Court ﬁnds that it is in the
                 interest of justice to stay this matter until the resolution of the pending motion to dismiss (ECF #15). If
                 appropriate, the Court will further address the stay at the conclusion of litigation regarding the motion
                 to dismiss. by Magistrate Judge Gordon P. Gallagher on 10/18/2018. Text Only Entry (GPG) (Entered:
                 10/18/2018)
10/19/2018    57 RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE by Magistrate Judge Gordon
                 P. Gallagher on 10/19/2018 re 15 MOTION to Dismiss for Failure to State a Claim ﬁled by James
                 Corey Goode. (tsher, ) (Entered: 10/22/2018)
10/21/2018    56 REPLY to 55 Order on Motion for Extension of Time to File,,,, by Plaintiff Alyssa-Christie
                 Montalbano. (Montalbano, Alyssa-Christie) (Entered: 10/21/2018)
10/22/2018    58 First MOTION to Amend/Correct/Modify 26 Complaint to File Complaint as Complaint by Plaintiff
                 Alyssa-Christie Montalbano. (Attachments: # 1 Exhibit General Complaint Form, # 2 Exhibit Public
         Case No. Record  Receipt, # 3 Exhibit Complaint
                  1:20-cv-00742-DDD-KAS         Document PT26-4
                                                            1, # 4 filed
                                                                   Exhibit Complaint
                                                                         06/24/20    PT 2)(Montalbano,
                                                                                  USDC    Colorado pgAlyssa-
                                                                                                       49
                  Christie) (Entered: 10/22/2018)      of 50

10/22/2018    59 REPLY to 55 Order by Plaintiff Alyssa-Christie Montalbano. (cthom, ) (Entered: 10/23/2018)
10/23/2018    60 MINUTE ORDER: Upon review of the Opposed Motion to File Complaint as the Complaint 58 , the
                 Court ﬁnds Plaintiff fails to comply with D.C.COLO.LCivR 15.1(b). Speciﬁcally, Local Rule 15.1(b)
                 requires a party who ﬁles an opposed motion for leave to amend to "attach as an exhibit a copy of the
                 proposed amended or supplemental pleading which strikes through (e.g., strikes through) the text to be
                 deleted and underlines (e.g., underlines) the text to be added." Accordingly, on or before Monday,
                 October 29, 2018, Plaintiff shall ﬁle a copy of the proposed Amended Complaint in compliance with
                 Local Rule 15.1(b). SO ORDERED by Judge Raymond P. Moore on 10/23/2018. (Text Only Entry)
                 (rmsec ) (Entered: 10/23/2018)
10/23/2018    61 NOTICE re 59 Reply to Order 55 to Disregard by Plaintiff Alyssa-Christie Montalbano (Montalbano,
                 Alyssa-Christie) (Entered: 10/23/2018)
10/26/2018    62 First MOTION to Amend/Correct/Modify 20 MOTION to Remand by Plaintiff Alyssa-Christie
                 Montalbano. (Attachments: # 1 Exhibit Amended Motion for Remand)(Montalbano, Alyssa-Christie)
                 (Entered: 10/26/2018)
10/28/2018    63 OBJECTION to 57 Report and Recommendations to Dismiss ﬁled by Plaintiff Alyssa-Christie
                 Montalbano. (Attachments: # 1 Exhibit Sample State Court Complaint)(Montalbano, Alyssa-Christie)
                 (Entered: 10/28/2018)
10/29/2018    64 MEMORANDUM regarding 62 First MOTION to Amend/Correct/Modify 20 MOTION to Remand
                 ﬁled by Alyssa-Christie Montalbano. Motion referred to Magistrate Judge Gordon P. Gallagher.
                 Entered by Judge Raymond P. Moore on 10/29/2018. (Text Only Entry) (rmsec ) (Entered:
                 10/29/2018)
11/06/2018    65 MOTION to Dismiss Due to Same Action Pending in Another Court by Plaintiff Alyssa-Christie
                 Montalbano. (Montalbano, Alyssa-Christie) (Entered: 11/06/2018)
11/07/2018    66 MEMORANDUM regarding 65 MOTION to Dismiss Due to Same Action Pending in Another Court
                 ﬁled by Alyssa-Christie Montalbano. Motion referred to Magistrate Judge Gordon P. Gallagher.
                 Entered by Judge Raymond P. Moore on 11/7/2018. (Text Only Entry) (rmsec ) (Entered: 11/07/2018)
11/12/2018    67 OBJECTIONS to 63 Objection to Report and Recommendations by Defendant James Corey Goode.
                 (Wilde, Valerie) (Entered: 11/12/2018)
11/12/2018    68 STRICKEN-RESPONSE to 62 First MOTION to Amend/Correct/Modify 20 MOTION to Remand
                 ﬁled by Defendant James Corey Goode. (Wilde, Valerie) Modiﬁed on 11/16/2018 to strike pursuant to
                 72 Order. (nmarb, ). (Entered: 11/12/2018)
11/13/2018    69 NOTICE of Same Action Pending in Another Court by Plaintiff Alyssa-Christie Montalbano
                 (Montalbano, Alyssa-Christie) (Entered: 11/13/2018)
11/14/2018    70 Unopposed MOTION to Strike Document Filed in Error by Defendant James Corey Goode.
                 (Attachments: # 1 Proposed Order (PDF Only))(Wilde, Valerie) (Entered: 11/14/2018)
11/14/2018    71 MEMORANDUM regarding 70 Unopposed MOTION to Strike Document Filed in Error ﬁled by
                 James Corey Goode. Motion referred to Magistrate Judge Gordon P. Gallagher. Entered by Judge
                 Raymond P. Moore on 11/14/2018. (Text Only Entry) (rmsec ) (Entered: 11/14/2018)
11/15/2018    72 ORDER granting 70 Motion to Strike - ECF #68 is stricken. So Ordered. by Magistrate Judge Gordon
                 P. Gallagher on 11/15/2018. Text Only Entry (GPG) (Entered: 11/15/2018)
11/15/2018    73 Second MOTION to Amend/Correct/Modify 26 Complaint by Filing State Court Simpliﬁed Civil
                 Procedure Complaint as Complaint by Plaintiff Alyssa-Christie Montalbano. (Attachments: # 1
                 Exhibit Amended Complaint Under Simpliﬁed Civil Procedure, # 2 Exhibit Pre-Litigation Complaint,
                 # 3 Exhibit State Court Filed Motion Complaint Exhibit)(Montalbano, Alyssa-Christie) (Entered:
                 11/15/2018)
11/15/2018    74 MOTION to Strike 58 First MOTION to Amend/Correct/Modify 26 Complaint to File Complaint as
         Case No. Complaint by Plaintiff Alyssa-Christie
                  1:20-cv-00742-DDD-KAS        Document  Montalbano.
                                                           26-4 filed(Montalbano, Alyssa-Christie)
                                                                       06/24/20 USDC     Colorado(Entered:
                                                                                                   pg 50
                  11/15/2018)                          of 50

11/16/2018         Motion(s) No Longer Referred: 62 First MOTION to Amend/Correct/Modify 20 MOTION to Remand
                   by Judge Raymond P. Moore on 11/16/2018. (cthom, ) (Entered: 11/16/2018)
11/16/2018    75 ORDER TO SHOW CAUSE: Defendant is ORDERED to SHOW CAUSE by November 30, 2018
                 why this matter should not be remanded to the Mesa County District Court of the State of Colorado,
                 where it originated, for lack of subject-matter jurisdiction. ORDERED by Judge Raymond P. Moore
                 on 11/16/2018. (cthom, ) (Entered: 11/16/2018)
11/27/2018    76 RESPONSE to 65 MOTION to Dismiss Due to Same Action Pending in Another Court ﬁled by
                 Counter Claimant James Corey Goode. (Wilde, Valerie) (Entered: 11/27/2018)
11/28/2018    77 REPLY to Response to 65 MOTION to Dismiss Due to Same Action Pending in Another Court ﬁled
                 by Plaintiff Alyssa-Christie Montalbano. (Montalbano, Alyssa-Christie) (Entered: 11/28/2018)
11/30/2018    78 RESPONSE TO ORDER TO SHOW CAUSE re 75 by Defendant James Corey Goode. (Attachments:
                 # 1 Proposed Order (PDF Only))(Wilde, Valerie) (Entered: 11/30/2018)
12/03/2018    79 ORDER granting 62 Plaintiff's "Opposed Motion for Leave of the Court to Amend the Motion for
                 Remand at Document 20," and this case is remanded to the Mesa County District Court of the State of
                 Colorado. Entered by Judge Raymond P. Moore on 12/3/2018. (cpear) (Entered: 12/03/2018)
12/03/2018    80 CERTIFICATE of Service by email by Clerk of Court to Mesa.court@judicial.state.co.us. (cpear)
                 (Entered: 12/03/2018)
12/03/2018         ***Set Deadline: Pro Se Survey to be mailed by 1/8/2019. (cpear) (Entered: 12/04/2018)



                                              PACER Service Center
                                                  Transaction Receipt
                                                    03/07/2020 10:58:25
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                                          yanaroslaw:5008093:0 Client Code: ges
                             Login:
                                                               Search       1:18-cv-02060-RM-
                             Description: Docket Report
                                                               Criteria:    GPG
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                                          8                    Cost:        0.80
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